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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 SAMER I. BAKRI

                        Plaintiff,

 vs.                                             Civil Action No. 1:19-cv-10621-WGY

 BERKLEE COLLEGE OF MUSIC, INC.,

                        Defendant.


MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL AND FOR
             THE AWARD OF REASONABLE EXPENSES

       It is a basic principle that, having initiated a lawsuit, a plaintiff cannot simply decline to

respond to a defendant’s legitimate discovery requests. And, yet, that is precisely the tactic that

counsel for Plaintiff Samer Bakri (“Plaintiff” or “Bakri”) has chosen in this litigation. Counsel

for Defendant Berklee College of Music, Inc. (“Defendant,” “Berklee,” or the “College”) has

attempted to resolve the discovery deficiencies set forth below by requesting on multiple

occasions to confer with Plaintiff’s counsel. Plaintiff’s counsel has rebuffed these entreaties,

leaving Berklee with no choice but to ask this Court to require Bakri to comply with his

discovery obligations under the Federal Rules of Civil Procedure and this Court’s Local Rules.

       In this litigation, Bakri asks this Court to second-guess Berklee’s determination that

Bakri violated the College’s Equity Policy and Process by engaging in non-consensual sexual

intercourse and non-consensual sexual contact with another Berklee student who was

incapacitated at the time. Berklee arrived at that conclusion, and accordingly sanctioned Bakri

with a two-year suspension, only after a thorough investigation conducted by the College’s

Deputy for Equity Investigations. Bakri now seeks to overturn his suspension, wipe clean his
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disciplinary history, and recover $164,955.88 in purported damages. His Verified Complaint

provides no concrete basis for his request that this Court take the extraordinary step of

intervening in the disciplinary decision of a private educational institution, but instead makes

broadly sweeping and unsupported accusations about the “fairness” of the investigation into his

misconduct.

        As set forth in more detail below, Berklee has sought discovery from Bakri in order to

refute Bakri’s claims and to gather information necessary to respond to his assertion of damages.

Plaintiff’s counsel has responded by stonewalling -- refusing to confer with counsel for

Defendant and failing to produce even a single document in response to Berklee’s requests for

production. Berklee now seeks this Court’s intervention to ensure that it is able to obtain

discovery relevant to its defense, and to which it is entitled under the rules governing discovery.

   I.        Brief Background

        Plaintiff began attending Berklee full-time in September 2017, as a third-year transfer

student. In early November 2017, two Berklee students informed a resident assistant about a

possible sexual assault that had occurred involving Plaintiff and a female Berklee student, Jane

Doe (“Doe”). Doe subsequently reported to Berklee that Plaintiff had sexually assaulted her and

requested that Berklee proceed with an investigation of her allegations under the College’s

Equity Policy and Process (the “Equity Policy”). On November 13, 2017, Berklee issued a

Notice of Investigation to Plaintiff, informing him that he had been accused of violating the

Equity Policy by engaging in Non-Consensual Sexual Intercourse and/or Non-Consensual Sexual

Contact.

        Berklee assigned the investigation of Doe’s allegations against Plaintiff to Kelly

Smolinsky, the College’s Deputy for Equity Investigations. In full compliance with the Equity

Policy, Ms. Smolinsky interviewed Plaintiff and Doe, as well as several witnesses. Based on the
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preponderance of the evidence standard set forth in the Equity Policy, and taking into

consideration the totality of the evidence presented by Plaintiff, Doe, and the other witnesses,

Ms. Smolinsky found Plaintiff responsible for non-consensual sexual contact and non-consensual

sexual intercourse. In reaching this decision, Ms. Smolinsky found that (1) it was more likely

than not that Doe was incapacitated at the time of her encounter with Bakri and therefore could

not consent to sexual contact with Plaintiff and (2) it was more likely than not that Plaintiff

knew, or should have known, that Doe was incapacitated.

         On February 13, 2018, Plaintiff and Doe were notified of the outcome of the investigation

and the sanctions against Plaintiff, which included, among other restrictions, disciplinary

suspension for two years (through the end of the spring 2020 term). Plaintiff subsequently

appealed the decision, which was denied because it failed to meet the grounds for appeal under

the Equity Policy.

         On February 25, 2019, Plaintiff filed this litigation against Berklee (the “Litigation”). 1 In

the Litigation, Plaintiff lodges a variety of unfounded complaints related to Berklee’s handling of

the investigation of Doe’s allegations. Plaintiff asserts, without substantiation, that the

investigation was “conducted unfairly and . . . violated the principles of due process, the rights of

the Plaintiff and fundamental fairness.” Verified Complaint ¶ 1. Plaintiff charges the College

with: (a) violations of the constitutions of the United States and the Commonwealth; (b) violation

of Title IX of the Education Amendments Act of 1972 (“Title IX”); (c) Breach of Contract; (d)

Breach of the Implied Covenant of Good Faith and Fair Dealing, and (e) Unjust Enrichment.




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         Plaintiff initially filed this litigation in Massachusetts Superior Court. This litigation was removed to
federal court on April 2, 2019. See Docket No. 1.

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   II.        Procedural Background

         A.      Defendant Serves Discovery Requests.

         On May 24, 2019, Defendant served by mail and email Defendant’s First Set of

Interrogatories (the “Interrogatories”) and Defendant’s First Request for Production of

Documents and Things (the “Document Requests”) (collectively the “Discovery Requests”). See

Affidavit of Arielle B. Kristan in Support of Defendant’s Motion to Compel and for the Award

of Reasonable Expenses (hereinafter “Kristan Aff.”), Ex. A (Interrogatories) and Ex. B

(Document Requests). Accordingly, Plaintiff’s responses to the Interrogatories and Document

Requests were due on June 26, 2019. See Fed. R. Civ. P. 33, 34.

         B.      Plaintiff’s Untimely and Deficient Responses to Discovery Requests.

         On July 3, 2019, having received neither responses from Plaintiff to the Interrogatories

and Document Requests nor a request for an extension, counsel for Defendant emailed Plaintiff’s

counsel, raising concerns about the timeliness of Defendant’s responses to the Interrogatories

and Document Requests. See Kristan Aff., Ex. C. Plaintiff’s counsel responded by apologizing

for the delay and stating that he would “insure [sic] that [his] office gets to it.” See id. On July

10, 2019, having still received no response to the Interrogatories or Document Requests, counsel

for Defendant again emailed Plaintiff’s counsel. See Kristan Aff., Ex. D. Plaintiff’s counsel

responded that he had been on vacation and had come back to find that “signature pages were

missing” but that he “[thought] [his] office put them in the mail.” See id.

         Five days later, on July 15, 2019, Plaintiff’s counsel served by mail (without a copy by

email) Plaintiff’s Answers to Defendant’s Interrogatories (the “Interrogatory Answers”) and

Plaintiff’s Responses to Defendant’s Request for Production of Documents (the “Responses to

Document Requests”). See Kristan Aff., Ex. E (Interrogatory Answers) and Ex. F (Responses to



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Document Requests). As such, the Interrogatory Answers and Responses to Document Requests

were eighteen days late. See Fed. R. Civ. P. 33, 34.

        As discussed in more detail below, the Interrogatory Answers and Responses to

Document Requests are deeply deficient. Plaintiff asserted boilerplate objections to each and

every request for documents, and he did not produce a single document in connection with the

Responses to Document Requests. See Kristan Aff., Ex. F; id. at ¶ 6. In addition, in his

Interrogatory Answers, Plaintiff failed to comply with Local Rule 26.5 in answering at least three

interrogatories, and he failed to provide any answer at all to Interrogatories 11 through 14. See

id. at Ex. E, pp. 9-12.

        On July 26, 2019, Arielle B. Kristan, counsel for Defendant, sent via mail and email a

letter to Plaintiff’s counsel, Joseph S. Provanzano, detailing the deficiencies in the Interrogatory

Answers and the Responses to Document Requests and requesting a conference to discuss such

deficiencies (the “July 26 Letter”). See Kristan Aff., Ex. G. Ms. Kristan informed Mr.

Provanzano that she would call him to attempt to resolve the issues set forth in the letter on July

30, 2019 at 2:00 p.m. See id. She then wrote, “If that time does not work for you, please propose

a different time no later than July 31, 2019.” See id.

        Mr. Provanzano did not respond to the July 26 Letter, and he did not propose an

alternative time to meet and confer. See Kristan Aff., ¶ 8. When Ms. Kristan called Mr.

Provanzano’s office on July 30, 2019, she was informed that Mr. Provanzano was out of the

office but would have time for a phone call the next day (July 31, 2019). See id. at ¶ 8. Ms.

Kristan emailed Mr. Provanzano, asking him to provide a time on July 31, 2019 when she could

reach him to discuss the concerns set forth in the July 26 Letter. See id. at Ex. H, p. 5.




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        Mr. Provanzano did not respond to Ms. Kristan’s email and did not otherwise call or

email Ms. Kristan. See Kristan Aff., ¶ 9. Having received no response from Mr. Provanzano, on

the morning of August 5, 2019, Ms. Kristan emailed Mr. Provanzano and informed him that she

would again try to reach him at 4:00 p.m. on August 6, 2019. See id. at Ex. H, p. 4. Ms. Kristan

wrote, “If that time does not work, please propose an alternative time before 5:00 p.m. on August

6.” See id.

        Mr. Provanzano replied to Ms. Kristan’s email approximately an hour later, stating, in

total, “I actually sent out your requests Friday to the client to supplement, with a letter to you to

so advise.” See Kristan Aff., Ex. H, p. 4. Ms. Kristan replied as follows:

        Thank you for letting me know. Unless your client intends to produce all documents
        responsive to Defendant’s requests, in the form requested, and to respond in full to the
        interrogatories, we will still need to confer about the serious deficiencies outlined in my
        letter. In addition, we need to discuss the timing of the discovery responses, which are
        now significantly overdue. To that end, and in the interest of avoiding any further delay
        in discovery, I will still plan to call you at 4:00pm tomorrow [August 6, 2019]. If that
        time does not work for you, please propose an alternative time before 5:00pm tomorrow.

        Kristan Aff., Ex. H, p. 3.

        Later that day, Ms. Kristan received a letter from Mr. Provanzano, dated August 2, 2019

(the “August 2 Letter”). See Kristan Aff., ¶ 10, Ex. I. In the August 2 Letter, Mr. Provanzano did

not address Defendant’s concerns about Plaintiff’s objections to the Document Requests, but

only denied that they were “boilerplate” objections and stated, “if the shoe fits, then I expect it

will be worn and the requests seem to warrant such objections.” See id. Mr. Provanzano then

seemed to leave to his client the decision about whether to produce any documents in response to

the Document Requests, writing in part as follows:

        [B]y copy hereof, I will ask for my Client to consider sharing anything and everything in
        his possession, but the decision is his alone to make. If you see this as not reasonable,
        then maybe we should ask Judge Young whether he adopts your position or mine.



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        I will, in any case, request that he review his Answers to Document Requests, Numbered
        as “53” and “62”, so as to determine if he has anything to supplement his Answers.

        Kristan Aff., Ex. I, p. 2 (emphasis in original).

As to Defendant’s request that Plaintiff supplement the Interrogatory Answers, Mr. Provanzano

again left the decision to his client, writing as follows:

        Finally, I see that you would like my Client to review and possibly Amend his Answers
        to Interrogatories, Numbered “4”, “8”, “9”, “11”, “12”, and “14”. Again, by copy hereof,
        I will certainly ask if he can do so and if so, that he do so in [20 days].

        Kristan Aff., Ex. I, p. 2 (emphasis in original).

        As she had stated in her August 5, 2019 email, Ms. Kristan called Mr. Provanzano’s

office at 4:00 p.m. on August 6, 2019. See Kristan Aff., ¶ 11. Ms. Kristan was again informed

that Mr. Provanzano was not available. See id. Ms. Kristan then emailed Mr. Provanzano, noting

that she had tried to reach him by phone several times without success, and was therefore writing

in an attempt to narrow the dispute between the parties and avoid motion practice if possible. See

id. at Ex. H. Ms. Kristan wrote in part as follows:

        I was unable to determine from your August 2 letter whether your client has agreed to
        address the concerns set forth in my July 26 letter. It appears that you have left it up to
        him and, as you know, I cannot contact him directly. I therefore ask that you respond to
        the following questions on behalf of your client.

                •     Will Mr. Bakri search for, and produce, all non-privileged documents (as
                defined in the document requests) in his possession, custody, and control that are
                responsive to Defendant’s First Request for Production of Documents and
                Things? If so, will Mr. Bakri produce those documents pursuant to the
                requirements of Rule 34(b)(2)(E) and Instruction 16 of the document requests,
                which concerns electronically stored information?

                •     Will Mr. Bakri amend his answers to Interrogatories 4, 8, 9 in compliance
                with Local Rule 26.5(c)(8)?

                •    Will Mr. Bakri provide answers to Interrogatories 11 through 14 (which
                appear to have been inadvertently omitted from the original production)?

                •    Will Mr. Bakri provide the documents and interrogatories described above
                by August 22, 2019 (20 days from your August 2 letter)?


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        Kristan Aff., Ex. H, pp. 1-2.

Ms. Kristan asked Mr. Provanzano to provide Plaintiff’s position on the above questions by

August 8, 2019. Id. Ms. Kristan closed by stating, “If we do not receive assurance by then that

Mr. Bakri will comply with his discovery obligations, we will have to move forward with motion

practice.” Id.

        Mr. Provanzano replied to Ms. Kristan’s email the next day. See Kristan Aff., Ex. H, p. 1.

Mr. Provanzano did not answer the questions posed by Ms. Kristan, writing only as follows:

        I will be in the office on Friday and will send your email to the client to see if he can do
        so. I cannot speak for whether or not he can find anything or everything sought, nor do I
        agree that it may even be discoverable. However, if we can produce it then obviously he
        will. I will expect the same of your client.

        See id.

Counsel for Defendant has received no further communications from Mr. Provanzano, and

neither Mr. Provanzano nor Plaintiff has supplemented the Interrogatories or produced any

documents in response to the Document Requests. See Kristan Aff., ¶ 12.

        C.        Pending Discovery Deadline and Deposition Schedule.

        Non-expert fact discovery closes in this matter on October 25, 2019. See May 7, 2019

Order (Docket No. 13). In order to complete discovery within this timeframe, Defendant has

noticed the deposition of non-party witness Shawn Vincent for September 24, 2019 and the

deposition of Plaintiff for October 11, 2019. See Kristan Aff., ¶ 13. Defendant seeks the

assistance of the Court in obtaining complete responses to the Interrogatories and Document

Requests in advance of these depositions.




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   III.        Argument

          A.     The Failure by Plaintiff’s Counsel To Respond To Requests For A Discovery
                 Conference Warrant Automatically Granting The Motion to Compel.

          Local Rule 37.1 makes clear that the “[f]ailure of opposing counsel to respond to a

request for a discovery conference within 7 days of the request shall be grounds for sanctions,

which may include automatic allowance of the motion.” Local Rule 37.1. Pursuant to this rule,

this Court has automatically allowed a motion to compel where counsel for the moving party

“attempted to set up such a conference with defendants’ counsel on two occasions before filing

the motion and that defendants’ counsel simply did not respond.” Cohen v. City of Newton, 248

F.R.D. 92, 92–93 (D. Mass. 2008). Here, counsel for Defendant twice informed Plaintiff’s

counsel that she would call Plaintiff’s counsel at pre-set times to confer about the discovery

deficiencies. See Kristan Aff., Exs. G, H. On both occasions, counsel for Defendant also asked

Plaintiff to propose alternative times if Plaintiff’s counsel would not be available at the pre-set

times. See id. Plaintiff’s counsel was not available when Defendant’s counsel called at the pre-set

times and did not propose any alternative times. See id. Twenty-five days have now passed since

Defendant’s first request (on July 26, 2019) that Plaintiff’s counsel participate in a conference,

and, as such, the Motion should be automatically allowed. Cohen, 248 F.R.D. at 92–93.

          B.     This Court Should Compel Plaintiff to Produce All Non-Privileged
                 Documents Responsive to the Document Requests.

          Even if Local Rule 37.1 did not require automatically granting this Motion, which it does,

this Court should compel Plaintiff to search for and produce all non-privileged documents in his

possession, custody, and control that are responsive to the Document Requests. This Court has

explained that Rule 26(b)(1) “generally permits liberal discovery of relevant information.”

Amoah v. Mckinney, No. CV 4:14-40181-TSH, 2016 WL 1698267, at *1–2 (D. Mass. Apr. 27,

2016). “[B]ecause discovery itself is designed to help define and clarify the issues, the limits set

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forth in Rule 26 must be construed broadly to encompass any matter that bears on, or that

reasonably could lead to other matters that could bear on, any issue that is or may be in the case.”

Id. There can be no doubt that the documents requested by Defendant fall within this broad

definition of relevance and, accordingly, Plaintiff must produce them absent a valid objection.

He has asserted no such objection. Rather, he has waived his objections to the Document

Requests by failing to timely respond to them, and in any event, his objections must be

disregarded as generic boilerplate statements that do not comply with Rule 34 of the Federal

Rules of Civil Procedure. Plaintiff therefore cannot escape the obligation to produce all non-

privileged documents responsive to the Document Requests.

           1.      Plaintiff Has Waived All Objections to the Document Requests.

       By failing to timely respond to the Document Requests, Plaintiff has waived all

objections to those discovery requests. Local Rule 34.1(c)(1) (“Any ground not stated in an

objection [to a document request] within the time provided by the Federal Rules of Civil

Procedure, or any extensions thereof, shall be deemed waived.”). See also Tropix, Inc. v. Lyon &

Lyon, 169 F.R.D. 3 (D. Mass. 1996) (defendants waived objections to interrogatories and

document requests by not serving the objections in a timely manner); Krewson v. City of Quincy,

120 F.R.D. 6, 7 (D. Mass. 1988) (“If a party fails to file timely objections to document requests,

such a failure constitutes a waiver of any objections which a party might have to the requests.”).

Plaintiff served the Responses to Document Requests nearly three weeks late, without requesting

an extension, and without offering any satisfactory explanation for the delay. See Kristan Aff., ¶¶

4-6. Accordingly, the Court should deem all objections to the Document Requests to be waived.

See Local Rule 34.1(c)(1); Tropix, 169 F.R.D. at 3; Krewson, 120 F.R.D. at 7.




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           2.      Plaintiff’s Boilerplate Objections Cannot Relieve Him of His Discovery
                   Obligations.

       Even if Plaintiff had not waived his objections to the Document Requests, the

“objections” Plaintiff has offered are nothing more than boilerplate responses that cannot shield

him from producing the requested information. See Amoah, 2016 WL 1698267, at *5 (boilerplate

objection improper). As amended in December 2015, Rule 34 of the Federal Rules of Civil

Procedure makes clear that, for each requested category of documents, “the response must either

state that inspection and related activities will be permitted as requested or state with specificity

the grounds for objecting to the request, including the reasons.” Fed. R. Civ. P. 34(b)(2)(B). This

revised language “precludes the use of the type of boilerplate objections on which [Plaintiff]

rel[ies].” Ramos v. Town of E. Hartford, No. 3:15-CV-166 (VLB), 2016 WL 7340282, at *2 (D.

Conn. Dec. 19, 2016). See also 2015 Advisory Committee Notes to Fed. R. Civ. P. 34; Leibovitz

v. City of New York, No. 15CIV546LGSHBP, 2017 WL 462515, at *2 (S.D.N.Y. Feb. 3, 2017)

(“General boilerplate objections are inappropriate and unpersuasive.”).

       Plaintiff has failed to meet this standard, instead relying on generic protestations that in

many instances have no conceivable connection to the Document Requests. In response to each

of Defendant’s Document Requests, Plaintiff interposes the same nonspecific objections,

repeatedly stating as follows:

       The Plaintiff OBJECTS to this Request as being beyond the scope of Federal Rules of
       Civil Procedure / Massachusetts Rules of Civil Procedure, Rule 26 [a], and for being, in
       part, overly broad and unduly burdensome and requesting the documents already in the
       possession of the Defendant, which are as easy to obtain by the Defendant as for the
       Plaintiff. Without waiving these Objections, the Plaintiff further Answers that the
       Defendant is already in possession of the documents requested, some of which the
       Defendant, not the Plaintiff, is in possession of. Further, this Request calls upon the
       plaintiff to determine legally and/or factually what is meant by the Request and what
       documents may or may not properly respond thereto. To the extent that the Defendant
       reasonably believes that the Plaintiff can produce documents in the possession of the
       Plaintiff, then the Plaintiff will make these documents available to the Defendant and the
       Defendant is free, at any time, to schedule an appointment at the office of the Plaintiff’s
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         counsel, at which time, the Plaintiff will voluntarily make available for production and
         copying the entire file of the Plaintiff. The Plaintiff will supplement this Answer should
         the Plaintiff determine that a further Answer is required.

         Kristan Aff., Ex. F.

In addition, in response to twenty-four (24) of the Document Requests, Plaintiff also appends a

similarly non-specific sentence to the boilerplate response above, in which he objects on the

grounds that the Request calls for an “oral answer” rather than documents, which is patently

untrue. 2 See Kristan Aff., Ex. F (Responses to Document Request Nos. 27-43, 45-50, 52-55).

         In his August 2 Letter, Plaintiff’s counsel offered no further support for these objections.

The sole rationale that he advanced – that “most, if not all” of the documents sought by

Defendant are in Berklee’s possession – is plainly inapplicable to a significant number of

Defendant’s document requests. See Kristan Aff., Ex. I, p. 2. For example, Defendant has

requested that Plaintiff produce “notes, diaries, journals, social media posts . . . musical lyrics or

compositions, or logs” concerning his allegations against Berklee (Document Request No. 62)

and documents related to his compensation, wages, and attempts to continue his studies since his

expulsion from the College (Document Request Nos. 53 and 54). See Kristan Aff., Ex. F, pp. 42-

43, 49. These documents plainly are not in Berklee’s possession. Plaintiff’s assertion to the

contrary is patently untrue and is reflective of Plaintiff’s failure to meaningfully object to the

Document Requests.

         Plaintiff can find no shelter behind the boilerplate, nonspecific objections he has asserted

in response to the Document Requests. Fed. R. Civ. P. 34(b)(2)(B). Accordingly, he should be


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         A handful of Plaintiff’s objections also include a sentence tacked on to the end of this boilerplate response.
See Kristan Aff., Ex. F (Responses to Document Request Nos. 19, 25, 26, 44, 51, 53, 58, 62, 63). Some of these
statements are nonsensical, for example, Plaintiff’s assertion that his private notes, diaries, journals, social media
posts, musical lyrics, and logs are “public documents” that may be obtained by Defendant. See Kristan Aff., Ex. F,
pp. 49-50 (Response to Document Request No. 62). Others appear to express a willingness to produce certain
documents, none of which have actually been produced. See Kristan Aff., Ex. F (Response to Document Request
Nos. 51, 53). None of them satisfy Rule 34’s requirement that objections be stated with specificity.

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compelled to search for, and produce, all non-privileged documents in his possession, custody, or

control that are responsive to the Document Requests. Id.; see also Ramos, 2016 WL 7340282, at

*2; Leibovitz, 2017 WL 462515, at *2 (and cases cited therein).

       C.        This Court Should Compel Plaintiff to Supplement His Interrogatory
                 Responses.

            1.      Plaintiff Should be Compelled to Supplement His Answers to Interrogatories
                    4, 8, and 9 to Comply With Local Rule 26.5.

       Plaintiff fails to include the elements required by Local Rule 26.5 in his answers to

Interrogatories 4, 8, and 9, and he should be required to supplement those answers to provide the

information required under the Local Rule. Pursuant to Local Rule 37.1(b), these interrogatories

and the responses thereto are set forth in full below, along with a statement concerning the

deficiency of each response.

       Interrogatory 4

                 Text of Interrogatory

       State the basis for your claim in paragraph 11 of the Complaint that you “would lose the

last two [2] years of [your] working career, when [your] earnings would be at their highest.”

Kristan Aff., Ex. A, p. 4.

                 Response by Plaintiff

       This has caused me to be set back at least two [3] (sic) years on obtaining my bachelors

degree which I would be able to get a better job with a Bachelors instead of an associates degree.

The Plaintiff reserves the right to Supplement this Answer at a later date. Kristan Aff., Ex. E, p.

5.

                 Statement Regarding Deficiency

       The answer to Interrogatory 4 does not comply with Local Rule 26.5(c)(8), which

specifies the information that must be included in response to a state-the-basis interrogatory. In

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particular, the answer fails to: (1) identify documents forming the source of Plaintiff’s

information regarding the allegation; (2) identify communications forming the source of

Plaintiff’s information regarding the allegation; (3) state the acts or omissions forming the source

of Plaintiff’s information regarding the allegation; and (4) state all other facts forming the source

of Plaintiff’s information regarding the allegation. See Local Rule 26.5(c)(8). Defendant requests

that Plaintiff be compelled to respond to Interrogatory 4 in full, without objection, and in

compliance with Local Rule 26.5(c)(8).

       Interrogatory 8

               Text of Interrogatory

       State the basis for your allegations in paragraph 26 of the Complaint that the Equity

Policy and Process “imposes a form of strict liability on male students,” and that “female

students are treated differently than male students, based solely on their sex,” being sure to

identify all information that purportedly formed the basis of these contentions “on information

and belief” at the time that you filed the Complaint. Kristan Aff., Ex. A, p. 5.

               Response by Plaintiff

       Objection, as this requests a professional and/or legal opinion and/or knowledge that I do

not have and I am not qualified to render and relies in great part upon those trained in the law.

Without waiving this Objection, the Plaintiff Answers as follows: All of the Witnesses that I

provided were considered biased while in tum the witnesses provided by Ms. Doe were not listed

as biased, without justification therefor. I feel as if they took Ms. Doe's word over my word

based on her sex and not upon information and evidence that was presented and/or available by

all the witnesses. I am not certain of the exact dates or names, but I recall reading in the local

newspapers of suits brought against the Defendant alleging these arguments. The Plaintiff

reserves the right to Supplement this Answer at a later date. Kristan Aff., Ex. E, p. 8.

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               Statement Regarding Deficiency

       Plaintiff has objected by asserting that this Interrogatory “requests a professional and/or

legal opinion and/or knowledge that I do not have and I am not qualified to render and relies in

great part upon those trained in the law.” See Kristan Aff., Ex. E, p. 8. This objection has been

waived as untimely. Local Rule 33.1(c)(1) (“Any ground not stated in an objection [to an

interrogatory] within the time provided by the Federal Rules of Civil Procedure, or any

extensions thereof, shall be deemed waived.”). See also Tropix, 169 F.R.D. 3 (defendants waived

objections to interrogatories and document requests by not serving the objections in a timely

manner). In addition, there is no basis for this objection, as Interrogatory 8 is a proper state-the-

basis interrogatory. Defendant requests that Plaintiff respond to Interrogatory 8 in full, without

objection. Defendant’s response should comply with Local Rule 26.5(c)(8), which designates the

information that must be contained in a response to a state-the-basis interrogatory.

       Interrogatory 9

               Text of Interrogatory

       State the basis for your allegation in paragraph 27 of the Complaint that the Equity Policy

and Process “appear[s] to be enforced only against male students at the” College. Kristan Aff.,

Ex. A, p. 5.

               Response by Plaintiff

       Objection, as this requests a professional and/or legal opinion and/or knowledge that I do

not have and I am not qualified to render and relies in great part upon those trained in the law.

Without waiving this Objection, the Plaintiff Answers as follows: All of the Witnesses that I

provided were considered biased while in turn the witnesses provided by Ms. Doe were not listed

as biased, without justification therefor. I feel as if they took Ms. Doe's word over my word

based on her sex and not upon information and evidence that was presented and/or available by

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all the witnesses. I am not certain of the exact dates or names, but I recall reading in the local

newspapers of suits brought against the Defendant alleging these arguments. The Plaintiff

reserves the right to Supplement this Answer at a later date. Ever since this happened to me all

that I have heard was that males were always under the microscope at the College not the woman

and that they were more believed than men. This seems improper and illegal. The Plaintiff

reserves the right to Supplement this Answer at a later date. Kristan Aff., Ex. E, pp. 8-9.

                Statement Regarding Deficiency

       Plaintiff has objected by asserting that this Interrogatory “requests a professional and/or

legal opinion and/or knowledge that I do not have and I am not qualified to render and relies in

great part upon those trained in the law.” See Kristan Aff., Ex. E, pp. 8-9. This objection has

been waived as untimely. Local Rule 33.1(c)(1) (“Any ground not stated in an objection [to an

interrogatory] within the time provided by the Federal Rules of Civil Procedure, or any

extensions thereof, shall be deemed waived.”). See also Tropix, 169 F.R.D. 3. In addition, there

is no basis for this objection, as Interrogatory 9 is a proper state-the-basis interrogatory.

Defendant requests that Plaintiff respond to Interrogatory 9 in full, without objection.

Defendant’s response should comply with Local Rule 26.5(c)(8), which designates the

information that must be contained in a response to a state-the-basis interrogatory.

           2.      Plaintiff Should Be Compelled To Answer Interrogatories 11 through 14.

       Plaintiff has failed entirely to respond to Interrogatories, 11, 12, 13, and 14. See Kristan

Aff., Ex. E, pp. 9, 12. Plaintiff has provided no explanation for the omission of responses to

those Interrogatories, and should now respond to them in full, without objection, and in

compliance with Local Rule 26.5.




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       D.      Defendant Is Entitled To Recover Its Expenses, Including Attorney’s Fees,
               Incurred in Bringing This Motion.

       Pursuant to Rule 37(a)(5), when a motion to compel is granted, or when the requested

discovery materials are not produced until after a motion to compel has been filed, “the court

must, after giving an opportunity to be heard, require the party or deponent whose conduct

necessitated the motion, the party or attorney advising that conduct, or both to pay the movant’s

reasonable expenses incurred in making the motion, including attorney’s fees.” Fed. R. Civ.

P. 37(a)(5)(A). See also DiLeo v. United Rentals (N. Am.), Inc., No. 15-CV-40157-TSH, 2018

WL 3352967, at *3–4 (D. Mass. July 9, 2018) (discussing Rule 37). The award of attorney’s fees

is mandatory unless Plaintiff can establish that an exception applies. Fed. R. Civ. P. 37(a)(5)(A).

See also Notice v. DuBois, 187 F.R.D. 19, 20 (D. Mass. 1999) (discussing mandatory nature of

sanctions under Rule 37). Plaintiff’s blatant failure to comply with his discovery obligations and

the repeated refusals by his attorney to cooperate in good faith with Defendant’s attempts to

obtain the discovery to which it is entitled preclude Plaintiff from establishing any of these

exceptions. Particularly indefensible are Plaintiff’s failure to produce even a single document in

response to the Document Requests and his counsel’s refusal to confer as required by Local Rule

37.1. Plaintiff should therefore be required to pay the reasonable expenses incurred by Defendant

in bringing this motion, including its attorney’s fees.




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                                   Respectfully submitted,

                                   BERKLEE COLLEGE OF MUSIC
                                   By its attorneys,

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                                 CERTIFICATE OF SERVICE

        I, Arielle B. Kristan, certify that this document, filed through the Electronic Case Filing
(ECF) system, will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on August 20, 2019.

                                              /s/ Arielle B. Kristan
                                              Arielle B. Kristan




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